         Case 3:22-cv-00183-DCN Document 42 Filed 12/02/22 Page 1 of 3




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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO
                                    CENTRAL DIVISION

 PETER PERLOT, MARK MILLER, RYAN AL-
 EXANDER, and RICHARD SEAMON,

                           Plaintiffs,
        v.                                        Civil Case No. 3:22-cv-00183-DCN
 C. SCOTT GREEN, President of the Univer-
 sity of Idaho, BLAINE ECKLES, Dean of
 Students, ERIN AGIDIUS, Director of the            PLAINTIFFS’ STIPULATION OF
 Office of Civil Rights & Investigations,           DISMISSAL WITH PREJUDICE
 and LINDSAY EWAN, Deputy Director of
 the Office of Civil Rights and Investiga-
 tions, all individually and all in their offi-
 cial capacities,
                       Defendants.
        Case 3:22-cv-00183-DCN Document 42 Filed 12/02/22 Page 2 of 3




      Under Federal Rule of Civil Procedure 41(a)(1), Plaintiffs Peter Perlot, Mark

Miller, Ryan Alexander, and Richard Seamon dismiss the captioned lawsuit with

prejudice with each party bearing his or her own costs and attorneys’ fees.

      Submitted this 2nd Day of December, 2022.

FOR THE PLAINTIFFS:                       FOR THE DEFENDANTS:


/s/ Greggory R. Walters                   /s/ Katharine B. Brereton
Greggory R. Walters                       Katharine B. Brereton




                                          2
        Case 3:22-cv-00183-DCN Document 42 Filed 12/02/22 Page 3 of 3



                              CERTIFICATE OF SERVICE
    I hereby certify that on December 2, 2022, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system, which automatically

sends an electronic notification to these attorneys of record:

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                                               /s/ Greggory R. Walters
                                               Greggory R. Walters




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